 4:12-cr-03057-JMG-CRZ             Doc # 30   Filed: 09/14/12    Page 1 of 1 - Page ID # 57




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    4:12CR3057

       vs.
                                                         MEMORANDUM AND ORDER
DIWANCHA SHONTALL BROWN,
TERESA LIGGINS,

                      Defendants.


       Defendant Brown has moved to continue the pretrial motion deadline, (filing no. 29),
because defense counsel needs additional time to fully review the discovery received before
deciding if pretrial motions should be filed. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Brown’s motion to continue, (filing no. 29), is granted.

       2)     As to both defendants, pretrial motions and briefs shall be filed on or before
              October 12, 2012.

       3)     As to both defendants, trial of this case remains scheduled to commence on
              October 23, 2012.

       4)     The ends of justice served by granting the motion to continue outweigh the
              interests of the public and the defendants in a speedy trial. Accordingly, as to
              both defendants, the additional time arising as a result of the granting of the
              motion, the time between today’s date and October 12, 2012, shall be deemed
              excludable time in any computation of time under the requirements of the Speedy
              Trial Act, because despite counsel’s due diligence, additional time is needed to
              adequately prepare this case for trial and failing to grant additional time might
              result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

       September 14, 2012.

                                                    BY THE COURT:

                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
